          Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 1 of 37




                                                                                             CALLI LAW, LLC
                                                                                 One Flagler Building, Suite 1100
                                                                                         14 Northeast 1st Avenue
                                                                                           Miami, Florida 33132
                                                                                                 T. 786.504.0911
                                                                                                 F. 786.504.0912
                                                                                              www.calli-law.com
                                        November 10, 2021


BY EMAIL

Honorable Analisa Torres
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     In re Search Warrant dated November 5, 2021, 21 MAG 10685

Dear Judge Torres:

        For reasons not known to our clients—non-profit news organization Project Veritas and its
founder, journalist James O’Keefe— the U.S. Attorney’s Office for the Southern District of New
York (“the government”) has launched a federal criminal investigation regarding a diary, the
contents of which were published by another news outlet more than a year ago. That news outlet
reported that the diary belonged to Ashley Biden, the daughter of then-candidate Joseph R. Biden.
As explained below, Project Veritas received what two previously-unknown sources described as
the original of Ashley Biden’s diary. Despite having credible evidence that the diary belonged to
Ashley Biden, Project Veritas and Mr. O’Keefe ultimately could not confirm the diary’s
authenticity to the degree they required to satisfy their journalistic ethics. For that reason, Project
Veritas never published the diary nor ran a news story on it. Instead, Project Veritas provided the
diary to local law enforcement in Florida. The extraordinary actions taken by the government, most
significantly the use of search warrants to seize news gathering materials from journalists, appear
to be founded on the premise that the diary does belong to Ashley Biden. That fact, however, does
not warrant the exercise of federal criminal authority to investigate and punish journalists who
merely obtained the diary and possessed it temporarily.

        Pursuant to its diary investigation, the government seized Mr. O’Keefe’s cell phones in a
6:00 AM raid on his home. The cell phones contain vast amounts of information protected by the
First Amendment, including materials related to on-going news investigations, whistleblower
information, and donor information that implicates freedom of speech and association guarantees.
The cell phones also contain a vast amount of attorney-client privileged material, both related to
the representation of Mr. O’Keefe and Project Veritas in connection with the government’s
investigation, and attorney-client privileged materials arising out of many unrelated matters.




                                                  1
           Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 2 of 37




       The government’s seizure thus imperils interests of the highest order. Project Veritas and
James O’Keefe move that the Court order the government not to review the contents of the seized
phones and that the Court appoint a special master to review the phones’ contents.1

                                             1. Introduction

         At 6:00 AM on Saturday, November 6, 2021, the Federal Bureau of Investigation (“FBI”)
executed a search warrant at Mr. O’Keefe’s home, seizing two cell phones2 belonging to Mr.
O’Keefe, who is the founder of non-profit news outlet Project Veritas. The FBI seized the devices
from Mr. O’Keefe’s home pursuant to a search warrant procured by the government 19 hours
earlier. The government had also procured search warrants for, and the FBI seized, cell phones
and other electronic devices from two former Project Veritas journalists two days earlier. We have
not found a reported case in which the Department of Justice obtained a search warrant to seize
newsgathering work product and other First Amendment-protected material from a journalist.

        The same day the government seized Mr. O’Keefe’s cell phones, undersigned counsel
requested that the government and the FBI sequester and not review the seized materials, including
with any purported government taint team. Ex. A, 11/6/21 Letter of P. Calli to M. Steiner et al.
The undersigned also requested that the government describe its efforts to comply with the law
and other authority governing seizing materials from the news media: 42 U.S.C. § 2000aa, 28
C.F.R. § 50.10, and Justice Manual 9-13.400. The government’s response declined the request not
to access the seized devices and represented that it “has complied with all applicable regulations
and policies regarding potential members of the news media.” Ex. B, 11/7/21 Letter of R.
Sobelman to P. Calli et al. Under these regulations and policies, seizing materials from the news
media requires DOJ approvals at the highest levels. If the government’s representation of
compliance is correct, it means that senior DOJ officials approved the seizure of a prominent
journalist’s cell phones as part of a federal investigation into the President’s daughter’s diary. Such
an investigation, and the use of search warrants to seize information from journalists, are both
unprecedented.

        Despite undersigned counsel’s requests, the government sent an email to the undersigned
at 6:11 PM on November 8, 2021, stating, “[W]e anticipate the forensic extraction of data from
those devices to begin as early as tomorrow morning.” Ex. C, 11/8/21 Email Exchange. The
undersigned informed the government that Mr. O’Keefe and Project Veritas would seek judicial
relief promptly and reiterated that the government should not access Mr. O’Keefe’s cell phones
given the privileged and First Amendment-protected information contained therein. The

1
        The government represented to the undersigned that it would “pause substantive review – but not
technical extraction” of the materials contained on Mr. O’Keefe’s phones, upon filing of the instant motion.
The undersigned request entry of an order suspending extraction, as well as substantive review, until the
Court adjudicates the instant motion.
2
        One of the cell phones seized from Mr. O’Keefe is his current work phone. The second phone is
older and he stopped using it approximately two years ago. Given the time period relevant to the
government’s diary investigation, the older phone cannot have any information properly subject to the
search warrant.


                                                     2
            Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 3 of 37




government refused. In a November 8, 2021, meet and confer phone call, the government stated
that it would only stop its extraction and potential review of Mr. O’Keefe’s phone after the filing
of this Motion. The government would not even agree to hold off its review of Mr. O’Keefe’s cell
phone for one day when the undersigned advised that this Motion would be filed within one day.

                            2. Factual and Procedural Background

       A.      The Nature of the Government’s Investigation.

        The government is investigating the diary of Ashley Biden. In late October 2020, an
unrelated news website called National File began publishing excerpts of the diary and articles
about the diary’s contents. See e.g. Tom Pappert, DIARY: Biden’s Daughter Ashley Resents Him
For His Money, Control, Emotional Manipulation – Whistleblower, NAT’L FILE, Oct. 28, 2020,
available at https://nationalfile.com/diary-bidens-daughter-ashley-resents-him-for-his-money-
control-emotional-manipulation-whistleblower/. For over a year, National File has continuously
hosted the diary on its website, where it can be read by anyone with an internet connection. See
Patrick Howley, FULL RELEASE: Ashley Biden Diary Reveals Child Sex Trauma, Drug Abuse,
Resentment for Joe – Whistleblower, NAT’L FILE, Oct. 28, 2020, available at
https://nationalfile.com/full-release-ashley-biden-diary-reveals-child-sex-trauma-drug-abuse-
resentment-for-joe-whistleblower/. Mr. O’Keefe and Project Veritas did not publish the diary.

        When National File published the diary, it claimed to have received the diary from a
“whistleblower” at another news organization that had chosen not to report on the diary. Id. No
Project Veritas employee had authority to, or was directed to, provide the diary to National File.
Nor to provide it to anyone else. Project Veritas had no involvement in National File’s publication
of the diary and had no advance knowledge that National File intended to publish it.

        Earlier in 2020, two individuals – R.K. and A.H. – contacted Project Veritas through a
proxy. Prior to this contact, neither James O’Keefe nor anyone at Project Veritas knew or had even
heard of R.K. and A.H. Those two individuals represented that they had material (including a
diary) that Ashley Biden had abandoned at a house where she had been staying in Delray Beach,
Florida. Project Veritas had no involvement with how those two individuals acquired the diary.
All of Project Veritas’s knowledge about how R.K. and A.H. came to possess the diary came from
R.K. and A.H. themselves.

       R.K. and A.H. through their lawyers requested payment from Project Veritas for
contributing the diary for potential publication. As described by these individuals, the diary
appeared to be newsworthy. R.K. and A.H.’s lawyers negotiated an arm’s length agreement with
two of Project Veritas’s in-house lawyers, wherein R.K. and A.H. reaffirmed that they had come
to possess the diary lawfully. Pursuant to that agreement, R.K. and A.H delivered the diary and
other materials reportedly abandoned by Ms. Biden to Project Veritas.

        Project Veritas conducted due diligence to determine if the diary was authentic and
investigated the potential news story. After significant deliberation, Project Veritas decided not to
publish the diary and not to run any news story about it. Despite an internal belief that the diary
was genuine, Mr. O’Keefe and Project Veritas could not sufficiently satisfy themselves with the


                                                 3
            Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 4 of 37




diary’s authenticity such that publishing a news story about it would meet ethical standards of
journalism.

        After Project Veritas decided not to run a story on the diary, Project Veritas’s General
Counsel attempted to return the diary to Ms. Biden and her lawyer. Ms. Biden’s lawyer, however,
declined to confirm whether the diary belonged to Ms. Biden. Accordingly, in November 2020,
Project Veritas arranged for the delivery of the diary and other materials provided by R.K. and
A.H. to local law enforcement in Florida.

       B.      The Government’s Execution of Search Warrants.

       One year after Project Veritas provided the journal to local law enforcement in Florida, the
FBI began raiding journalists’ homes. On November 5, 2021, at approximately 6:00 AM, the FBI
executed search warrants at the homes of two former Project Veritas journalists, seizing their cell
phones and other electronic devices. On information and belief, at least one of the electronic
devices seized from a former Project Veritas journalist likewise contains protected information
belonging to Project Veritas.

        Approximately two days later, the FBI executed a search warrant at the home of James
O’Keefe, seizing two cell phones. The FBI pounded on Mr. O’Keefe’s door and, when he
voluntarily opened it, Mr. O’Keefe was met with approximately ten armed FBI agents (one of
whom was holding a battering ram for the purpose of breaking Mr. O’Keefe’s door) and blinding
white lights. The FBI agents handcuffed Mr. O’Keefe (who was wearing only his underwear) in
the hallway outside Mr. O’Keefe’s apartment, where his neighbors could see.

        The government’s execution of a search warrant at Mr. O’Keefe’s home demonstrates its
lack of concern for a balance between the purported needs of its investigation and the rights of a
free press. The government was aware that the undersigned represented Mr. O’Keefe and had
agreed to accept service of a grand jury subpoena on behalf of Mr. O’Keefe and Project Veritas.
Ex. D, 10/27/21 Correspondence of P. Calli to M. Steiner et al. In fact on November 4, 2021 – two
days before its search of Mr. O’Keefe’s home -- the undersigned had accepted service of a grand
jury subpoena directed to Project Veritas. Instead of pursuing traditional document-collection
procedures that would achieve balance the government’s purported need for what it seized from
Mr. O’Keefe and both the attorney-client privilege and First Amendment concerns at issue, the
government chose the most hostile and intrusive approach possible.

        Compounding its heavy-handed tactics, the government leaked details of its investigation
to competitors of Project Veritas. On November 4, 2021, at about the same time that FBI agents
finished searching the home of a former Project Veritas journalist, a New York Times reporter
contacted one of the former journalists and also sent the following inquiry to Mr. O’Keefe:




                                                4
          Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 5 of 37




       When the New York Times ran a story about the November 4 searches, it included
information that could have only come from the government, stating:

       The Trump administration Justice Department, then led by Attorney General
       William P. Barr, opened an investigation into the matter shortly after a
       representative of the Biden family reported to federal authorities in October 2020
       that several of Ms. Biden’s personal items had been stolen in a burglary, according
       to two people briefed on the matter.

Michael Schmidt, William K. Rashbaum, Precious Fondren, and Adam Goldman, People Tied to
Project Veritas Scrutinized in Theft of Diary from Biden’s Daughter, N.Y. TIMES, Nov. 5, 2021,
available     at    https://www.nytimes.com/2021/11/05/us/politics/project-veritas-investigation-
ashley-biden-diary.html. This leaked information likely was intended to preemptively deflect
criticism that the DOJ was being used to target a news organization viewed by some as critical of
the Biden administration over the matter of the President Biden’s daughter’s diary.

       The government also appears to have leaked to the New York Times the news of the search
warrant it executed at James O’Keefe’s home. Shortly after the execution of the warrant, Mr.
O’Keefe received the following message from Michael Schmidt, a New York Times reporter:




                                               5
            Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 6 of 37




The government’s leaks to the press are all the more remarkable in light of the cautionary language
the USAO included with its grand jury subpoena issued to Project Veritas:

       The Government hereby requests that you voluntarily refrain from disclosing the
       existence of the subpoena to any third party. While you are under no obligation to
       comply with our request, we are requesting you not to make any disclosure in order
       to preserve the confidentiality of the investigation and because disclosure of the
       existence of this investigation might interfere with and impede the investigation.

Ex. E, 11/4/21 Cover Letter Accompanying Grand Jury Subpoena to Project Veritas. The
government’s purported concern for the confidentiality of its investigation apparently applies only
to the subjects of its investigation, and falls away when it is communicating with the New York
Times.

        Additionally, the search warrant itself contains no limitations on the government’s ability
to access privileged material, whistleblower material, confidential source information, donor
information, or material about unrelated news investigations. Indeed, the warrant states that while
“[l]aw enforcement personnel will make reasonable efforts to search only for files, documents, or
other electronically stored information within categories identified above in this Attachment . . . .
law enforcement personnel are authorized to conduct a complete review of all the ESI from
seized devices or storage media if necessary to evaluate its contents and to locate all data
responsive to the warrant.” Ex. F. (emphasis added).

       C.      The Protected Contents of the Seized Cell Phones.

        Mr. O’Keefe’s current work cell phone that the government seized contains attorney-client
privileged communications and attorney work product relating to the undersigned’s representation
of Mr. O’Keefe and Project Veritas in connection with the investigation for which the government
executed a search warrant at Mr. O’Keefe’s home. That cell phone also contains privileged
communications with Project Veritas’s in-house lawyers concerning internal discussion of Project
Veritas’s interaction with A.H. and R.K., internal discussion of Project Veritas’s negotiations with
counsel for A.H. and R.K., internal discussion of Project Veritas’s communications with Ms.
Biden’s lawyer, and Project Veritas’s due diligence regarding the diary.

       The vast majority of attorney-client privileged and First Amendment-protected materials
on Mr. O’Keefe’s phones are wholly unrelated to the government’s diary investigation. For
example, Mr. O’Keefe’s current work cell phone includes, privileged materials related to Project
Veritas’s pending defamation suit against the New York Times. See Project Veritas v. New York

                                                 6
          Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 7 of 37




Times Co., Case No. 63921 /2020, 2021 WL 2395290, *10-11 (N.Y. Sup. March 18, 2021) (Wood,
J.) (order denying New York Times’ Motion to Dismiss). The New York Times is the same media
company to which the government leaked details of its investigation. The fact that the government
has already leaked information about its investigation to Project Veritas’s litigation adversary is a
concrete reason to believe that no government taint team could be adequately walled off to ensure
that Mr. O’Keefe and Project Veritas’s privileges are respected.

         The attorney-client privileged and work product material on the cell phones relate to both
litigation and non-litigation matters, including both currently pending matters and historic matters.
The following is a preliminary list of lawyers with whom there are privileged communications on
Mr. O’Keefe’s phones. It illustrates the huge amount of privileged material the government has
seized:

              Paul Calli and Charles Short of Calli Law, LLC
              Benjamin Barr and Stephen Klein of Barr & Klein PLLC
              Elizabeth Locke and Andy Phillips of Clare Locke LLP
              Justin Kelton and Robert Spolzino of Abrams Fensterman LLP
              Stefan Passantino and Elizabeth Prendergast of Michael Best & Friedrich LLP
              Paul Mersino of Butzel Long
              Michael Montecalvo and Jamie Dean of Womble Bond Dickinson
              Harmeet Dhillon and Ron Coleman of Dhillon Law Group
              Kerry Verdi and Ben Ogletree of Verdi & Ogletree PLLC
              Jason Zimmerman and Brock Magruder of GrayRobinson
              G. David Rubin and Elizabeth Sanguinetti of Litchfield Cavo, LLP
              Jeremy Rosen of Horvitz and Levy, LLP
              Gregory Zimmer, Jill Vogel, Jason Torchinsky, Shawn Sheehy, Steve Roberts, Erin
               Burroughs, and Darby Grant of Holtzman Vogel, PLLC
              Laurence Levy and Dan Filor of Greenberg Traurig, LLP
              Bradley Benbrook of Benbrook Law Group
              Alan Lyons, William Fried and Samuel Bazian of Herrick Feinstein, LLP
              Daniel Kelley of McCarter and English, LLP
              Donal Blaney and Keeley Parry of Griffin Law
              Linda Kerns of the Law Offices of Linda A. Kerns
              David Houck and Matthew Richardson, QC of Henderson Chambers
              Douglas Chalmers Jr. of Chalmers and Adams LLC
              Jered Ede, John Sullivan, Zachary Kramer, and Julia Witt, General Counsel to
               Project Veritas

        In addition to attorney-client privileged materials, both phones also contain newsgathering
materials which are critical to the exercise of a free press and protected by the First Amendment.
These include materials related to news investigations (present and past), communications with
whistleblowers and other confidential sources, communications with donors (crucial information
protected by the First Amendment guarantee of freedom of association) and internal discussion of
investigative and editorial policies and practices. This is confidential and protected information
newsgathering information wholly unconnected to the government’s diary investigation.

                                                 7
          Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 8 of 37




       3. The Privacy Protection Act, 28 C.F.R. § 50.10, and Justice Manual 9-13.400.

        As detailed above, the government represented that it “has complied with all applicable
regulations and policies regarding potential members of the news media.” Ex. B, 11/7/21 Letter of
R. Sobelman to P. Calli et al. This statement, if true, is extraordinary. It would mean that, pursuant
to the relevant rules and regulations governing DOJ efforts to obtain information from journalists,
the Attorney General of the United States approved a search warrant to seize privileged
communications, and newsgathering materials belonging to a prominent journalist – all over the
matter of a diary already in the public domain, that Project Veritas did not publish, and which it
ultimately provided to state law enforcement in Florida.

         28 C.F.R. § 50.10, which is reiterated and reinforced by Section 9-13.400 of the Justice
Manual, provides the rules and regulations governing the DOJ’s use of process, orders, or warrants
to obtain information from members of the news media. And those rules and regulations do not
permit the government’s actions here. Even if a member of the news media is the subject or target
of the government’s investigation, the regulations require the government to explore alternative
means for gathering the information it seeks and require the government to consider certain factors
that it evidently did not consider here. 28 C.F.R. § 50.10(d)(3) governs applications for warrants
to search the premises, property, communications records, or business records of members of the
news media. In determining whether to authorize such an application, the Attorney General must
consider, among other factors, whether prosecutors have

       pursued negotiations with the affected member of the news media unless the
       Attorney General determines that, for compelling reasons, such negotiations would
       pose a clear and substantial threat to the integrity of the investigation, risk grave
       harm to national security, or present an imminent risk of death or serious bodily
       harm.

28 C.F.R. § 50.10(c)(5)(iv)(A); see also 28 C.F.R. § 50.10(c)(5)(vi) (“Requests should be treated
with care to avoid interference with newsgathering activities and to avoid claims of harassment”).
The government failed to pursue such negotiations here, and the exceptions for investigative
integrity, national security, and the risk of death or serious bodily harm obviously are not present.
The government has been aware of the relevant events for more than a year, the government issued
a grand jury subpoena to Project Veritas just 24 hours before applying for a search warrant to seize
cell phones from Mr. O’Keefe’s home, and the subject matter of the investigation do not implicate
national security or safety concerns.

       Ironically, President Biden himself has called law enforcement demands for press records
“simply wrong.”3 In a similar vein, the Attorney General stated that the only way to make
reporters’ shield laws “permanently durable is through legislation, and I will personally support
working with Congress to develop legislation that would make protections for obtaining the press’

3
  Matt Zapotosky & Anne Gearan, Biden says he won’t allow Justice Dept. to seize journalists’ phone,
email records, WASH. POST, May 21, 2021, available at https://www.washingtonpost.com/national-
security/biden-journalists-justice-department/2021/05/21/fb606c4a-ba72-11eb-a5fe-
bb49dc89a248_story.html

                                                  8
           Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 9 of 37




records part of the legislation.” See Josh Gerstein, Garland Backs Legislation to End Subpoenas
for Reporters’ Records, POLITICO (June 25, 2021) available at https://www.politico.com/news/
2021/06/25/garland-reporters-records-subpoenas-496291. And on July 19, 2021, the Attorney
General issued a memorandum directing that DOJ not use compulsory legal process to obtain
information from members of the press acting within the scope of newsgathering activities.4 The
principles that informed this guidance are no less applicable where the newsgathering activities
focus on the President’s daughter.

        In addition to the regulations and DOJ’s guidance on implementing them, the Privacy
Protection Act (“PPA”) generally prohibits the search and seizure of “work product materials”
possessed by a person or entity in connection with “a purpose to disseminate to the public a
newspaper, book, broadcast, or other similar form of public communication.” 42 U.S.C. §
2000aa(a). Likewise, the PPA regulates the search and seizure of non-work product materials, again
generally prohibiting the search and seizure of “documentary materials, other than work product
materials, possessed by a person in connection with a purpose to disseminate to the public a
newspaper, book, broadcast, or other similar form of public communication, in or affecting
interstate commerce.” 42 U.S.C. § 2000aa(b).

       Although both the regulations and guidance contain a so-called “suspect
exception,” it is restricted by the requirement that “a government officer or employee may
not search for or seize such materials under the provisions of this paragraph if the offense to which
the materials relate consists of the receipt, possession, communication, or withholding of such
materials or the information contained therein.” 42 U.S.C. § 2000aa(a)(1), (b)(1). None of the
exceptions-to-the-exception apply.

        If, in fact, the highest levels of the DOJ were involved with approving the government’s
application for a warrant to search Mr. O’Keefe’s home and seize his cell phones, such approval
is an overreach at its highest levels of government, thereby providing further support for the notion
that no government taint or filter team could fairly or adequately self-police the government’s
review of the information found on Mr. O’Keefe’s cell phones and that the appointment of a
Special Master is the most prudent means for conducting such a review.

    4. This Court Should Appoint a Special Master to Conduct a Review of the Cell Phones
                       that the Government Seized from Mr. O’Keefe.

         The government has seized journalists’ cell phones, electronic devices and media which
contain newsgathering and privileged information, including information about Project Veritas’s
litigation against the New York Times, the competitor to which the government has leaked details
of its investigation. And apparently, this invasive conduct has been authorized at the highest levels
of DOJ. The government cannot be relied upon to review the First Amendment-protected and
privileged materials that it seized. The appointment of a special master to review the seized
materials is necessary to protect core First Amendment interests and attorney-client privileged
information. Moreover, the appointment of a special master is necessary to avoid the appearance

4
 See Attorney General Memorandum for the Deputy Attorney General, The Associate Attorney General,
Heads of Department Components, United States Attorneys, Federal Prosecutors, July 19, 2021, available
at https://www.justice.gov/ag/page/file/1413001/download.

                                                  9
         Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 10 of 37




of impropriety, particularly given that the government’s investigation involves the President’s
daughter’s diary.

       A.      The Government’s Seizures Imperil Protected First Amendment Rights,
               Including Those Related to Both Freedom of the Press and Freedom of
               Association.

         Members of the news media like Mr. O’Keefe and Project Veritas depend on an atmosphere
of confidence and trust. If the government may, pursuant to a search warrant, fully examine a
reporter’s electronic devices – which include information and communications with government
critics, watchdogs, and whistleblowers – then the truth-seeking function of the press will wither.
The First Amendment guarantees a free press because of the role it plays as a “vital source of
public information.” Grosjean v. American Press Co., 297 U.S. 233, 250 (1936). Put differently,
“[t]he press [is] protected so that it [can] bare the secrets of government and inform the people.”
New York Times Co. v. U.S., 403 U.S. 713, 717 (1971) (Black, J., concurring). The press’ function
to act as a vital source of information is threatened whenever the government impairs or seeks to
impair its ability to gather news. In the present matter, the early morning raid and seizure of
reporter’s property that holds confidential information about donors, government inside sources,
and new leads is in jeopardy, as is the First Amendment itself.

        The first principles are critical to the Court’s evaluation of this request for appointment of
a special master. In Bartnicki v. Vopper, 532 U.S. 514 (2001), the Supreme Court extended First
Amendment protections to entities and persons publishing truthful information obtained from a
source regarding matters of public concern even if a source unlawfully obtained the information,
provided that the publisher itself was not involved in the unlawful activity. Id. at 517-18. This
principle is consistent with the principle that “state action to punish the publication of truthful
information seldom can satisfy constitutional standards.” Smith v. Daily Mail Pub. Co., 443 U.S.
97, 102 (1979). With the government’s seizure of protected newsgathering property here – in the
form of a reporter’s cellular phones – that same protection offered by Bartnicki should be honored.

        Following Bartnicki, this Court and two federal courts of appeals have faithfully followed
its protections. Recently, the Fourth Circuit did this in Allen v. Beirich, Case No. 19-2419, 2021
WL 2911736 (4th Cir. July 12, 2021) (Blake, J.). There, the Southern Poverty Law Center
(“SPLC”) published two stories about Allen linking him to a white supremacist organization. The
SPLC obtained this information by paying $5,000 to a former accountant of the white supremacist
group who obtained and held the information illegally. Id. at *2. Because the SPLC did not cause
or induce the accountant to engage in illegal acts, its subsequent payment for the receipt of
newsworthy information did not establish liability on its part. Id. at *5. This reasoning is in accord
with Jean v. Massachusetts State Police, 492 F.3d 24, 31 (1st Cir. 2007), in which the U.S. Court
of Appeals for the First Circuit found that, even though the publisher was in “active collaboration”
with information thieves, the publisher still maintained the First Amendment protections set forth
in Bartnicki. Id. at 31.

       Similarly, this Court extended Bartnicki’s protection in Democratic National Committee v.
Russian Federation, 392 F.Supp.3d 410 (S.D.N.Y. 2019). In that case, WikiLeaks solicited stolen
documents from the Russian Federation and this Court held, consistent with Bartnicki, that so long


                                                 10
          Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 11 of 37




as WikiLeaks requested already stolen information, it was protected First Amendment conduct. Id.
at 435-36. Poignantly, this Court reasoned that even allowing WikiLeaks to be charged as an after-
the-fact coconspirator would simply “eviscerate Bartnicki” and would render “any journalist who
published an article based on stolen information a coconspirator in theft.” Id. at 435. This the First
Amendment does not permit. Yet, it is precisely the theory the government appears to pursue here
– a theory foreclosed per Bartnicki and Russian Federation. With this impermissible predicate, the
government has executed a search that imperils privileged and First Amendment protected
material.

        The seized cell phones also include whistleblower and source information. Few
whistleblowers will come forward to journalists if they know their identities are being scoured by
the very government they wish to share information about. See, e.g., Mills v. State of Alabama,
384 U.S. 214, 219 (1966) (the “press serves and was designed to serve as a powerful antidote to
any abuses of power by governmental officials and as a constitutionally chosen means for keeping
officials elected by the people responsible to all the people whom they were selected to serve”);
Dillon v. Suffolk County Dept. of Health Services, 917 F.Supp.2d 196, 212-13 (E.D.N.Y. 2013)
(county doctor speaking out about administration of a jail medical program constituted protected
speech about a matter of public concern under the First Amendment). Similarly, journalists who
are on the cutting edge of important stories and insider disclosures find their work entirely stymied
(perhaps entirely) when the government possesses the power to inspect the plans of whistleblowers
critical of government power. Appointing a special master will help protect the rights of
whistleblowers and Project Veritas in their reporting critical of public officials and government
policies.

        Because the seized materials also include Project Veritas donor information, the First
Amendment’s guarantee of freedom of association is also threatened, and must likewise be
preserved through the use of a special master. Just this last term, the Supreme Court reaffirmed the
importance of the right of association held between donors and the organizations they support in
Americans for Prosperity Foundation v. Bonta, 141 S.Ct. 2373 (2021). Piercing the right of
anonymous, private association does damage to the right of association. Id. at 2382. The Supreme
Court so found because “[e]ffective advocacy of both public and private points of view,
particularly controversial ones, is undeniably enhanced by group association,” and “the vital
relationship between freedom to associate and privacy in one’s associations. . . .” Id. (internal
quotations omitted). Government intrusions into donor-organization relationships causes donors
to reduce their support or stop giving entirely.

         When the government uses questionable tactics to investigate the press, it is important that
courts respond to protect fundamental First Amendment rights. A too intrusive process creates a
chilling effect on the press and individuals may “well forgo the pursuit of their just claims. The
judicial system will thus have made the utilization of its remedies so onerous that the people will
be reluctant or unwilling to use it, resulting in frustration of a right as valuable as that of the speech
itself.” Seattle Times Co. v. Rhinehart, 467 U.S. 20, 38 n.22 (1984) (internal quotations omitted).

       Allowing the prying eyes of government prosecutors to themselves alone review First
Amendment protected information – like newsworthy, confidential information lawfully obtained
by reporters – would send a chill to journalists nationwide. See, e.g., Branzburg v. Hayes, 408 U.S.


                                                   11
          Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 12 of 37




665, 707-08 (1972) (“news gathering is not without its First Amendment protections, and grand
jury investigations if instituted or conducted other than in good faith, would pose wholly different
issues for resolution under the First Amendment”); Dombrowski v. Pfister, 380 U.S. 479, 485-86
(1965) (judicial processes can exact a “substantial loss or impairment of freedoms of expression”).

        Perhaps most monumentally, this matter involves journalists investigating and deciding
whether to publish a story about the daughter of a presidential candidate – now, the President of
the United States. This is a newsworthy topic at the very heart of the First Amendment – a term
this Court has instructed the government to interpret liberally. Rogers v. Grimaldi, 695 F.Supp.
112, 117 (S.D.N.Y. 1988) (internal citations omitted). Whatever interest the government has in
investigating the diary, it “would be quite remarkable to hold that speech by a law-abiding
possessor of information can be suppressed in order to deter conduct by a non-law-abiding third
party.” Bartnicki, 532 U.S. at 529-30. Appointing a special master would demonstrate here that
First Amendment press rights will be taken seriously, even when the press has the courage to
investigate the family of the current President.

       B.      The Attorney-Client Privilege is a Paramount and Well-Established
               Concern.

         “We readily acknowledge the importance of the attorney-client privilege, which ‘is one of
the oldest recognized privileges for confidential communications.’” Mohawk Indus., Inc. v.
Carpenter, 558 U.S. 100, 108 (2009) (quoting Swidler & Berlin v. U.S., 524 U.S. 399, 403 (1998)).
“By assuring confidentiality, the privilege encourages clients to make ‘full and frank’ disclosures
to their attorneys, who are then better able to provide candid advice and effective representation.”
Id. (quoting Upjohn Co. v. U.S., 449 U.S. 383, 389 (1981)). These well-established principles serve
“broader public interests in the observance of law and administration of justice.” Id. (cleaned up).
“The privilege recognizes that sound legal advice or advocacy serves public ends and that such
advice or advocacy depends upon the lawyer’s being fully informed by the client.” Upjohn, 449
U.S. at 389. “The lawyer–client privilege rests on the need for the advocate and counselor to know
all that relates to the client’s reasons for seeking representation if the professional mission is to be
carried out.” Id. (internal quotation marks omitted) (quoting Trammel v. U.S., 445 U.S. 40, 51
(1980)). Thus, “[t]he importance and sanctity of the attorney-client privilege is well established.”
In re Grand Jury Subpoenas, 144 F.3d 653, 659-60 (10th Cir. 1998) (citing Upjohn, 449 U.S. at
389).

       C.      Authority for Appointment of a Special Master to Review the Seized
               Materials for Privilege and Materials Protected by the First Amendment.

        Mr. O’Keefe and Project Veritas can summarize the law no better than the government did
in the matter, In re Search Warrant dated April 21, 2021, 21 Mag. 4335, In re Search Warrant
dated April 28, 2021, 21 Mag. 4591, regarding the conduct of a government filter review of
privileged materials seized from Rudolph Giuliani (the “Giuliani Case”). In moving for
appointment of a special master to conduct the type of review that Mr. O’Keefe and Project Veritas
seek in this case, the government itself acknowledged:




                                                  12
          Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 13 of 37




       Courts have a “limited supervisory authority over a grand jury proceeding.” United
       States v. Hilts, 757 F. App’x 56, 59 (2d Cir. 2018) (citing United States v. Williams,
       504 U.S. 36, 47 (1992)). That authority extends to the protection of privileges
       recognized by the Constitution, Congress, and the common law. See Williams, 504
       U.S. at 48; Gravel v. United States, 408 U.S. 606 (1972); In re Grand Jury
       Investigation of Hugle, 754 F.2d 863, 864-65 (9th Cir. 1985) (Kennedy, J.). That
       supervisory authority exists prior to an individual being charged with a crime. See
       In re Grand Jury Investigation of Hugle, 754 F.2d at 865 (“a court is not required
       to defer relief [on a privilege issue] until after issuance of the indictment”); In re
       Wiltron Assocs. Ltd., 49 F.R.D. 170, 172 (S.D.N.Y. 1970) (declining to grant relief
       under Rule 41 and recognizing jurisdiction was based on the court’s “general
       supervisory power”).

21 Mag. 4335, Case No. 1:21-mc-00425-JPO (Dkt. 16 at 2).

        While in this district, the government might make use of a “filter team” to try and protect
privilege, that approach is not always appropriate. Under certain circumstances, a special master
is necessary and more appropriate choice for conducting such a review. Courts in this district have
frequently dealt with the issue in the context of searches of lawyer’s electronic devices. It is equally
appropriate here, where not only a significant amount of privileged material is imperiled, but First
Amendment protected material is likewise at risk. Where sensitive issues of First Amendment
privilege have arisen, courts have endorsed the appointment of special masters as an appropriate
remedy. See, e.g., In re Storag Etzel GmbH, Case No. 19-MC-209-CFC, 2020 WL 2915781, *1
(D. Del. June 3, 2020) (Connolly, J.) (special master appointed because of his expertise in First
Amendment matters); DeMassa v. Nunez, 747 F.2d 1283 (9th Cir. 1984) (authorizing use of special
master to search a computer containing privileged material); U.S. v. Duke Energy Corp., 2012 WL
1565228 at *2-*3 (M.D.N.C. Apr. 30, 2012) (appointing special master to determine if items were
privileged or protected under the First Amendment). Here, the use of a special master will protect
the highly sensitive information gathered by journalists from government prosecutors while
allowing non-privileged and responsive items to be accessed. See, e.g., In re application of
Madison, 687 F.Supp.2d 103, 118-119 (E.D.N.Y. 2009) (petitioners must make showing of First
Amendment or privilege protection to invoke a special master).

         Courts may appoint special masters based on a motion, after a criminal case has been
charged, or pursuant to a return of property motion or a temporary restraining order. See In re the
Matter of Search Warrants Executed on April 9, 2018, No. 18 MJ 3161 (S.D.N.Y. Apr. 16, 2018)
(denying the motion of former President Trump’s lawyer, Michael Cohen, for a temporary
restraining order, but appointing a special master); In re Search Warrants Executed on April 28,
2021, 21-MC-425 (JPO), 2021 WL 2188150, at **1, 4 (S.D.N.Y. May 28, 2021), appeal
withdrawn (June 30, 2021) (granting Government’s motion to appoint special receiver in Giuliani
case to “avoid unnecessary intrusion on attorney-client communications” and as “the appointment
of a special master is warranted here to ensure the perception of fairness.”); see also In re Horowitz,
482 F.2d 72, 80 (2d Cir. 1973) (limiting production of attorney-client and accountant-client
privileged documents in response to grand jury subpoena and directing that trial court “is free to
utilize a magistrate or appoint a special master” to oversee compliance with rulings on privilege);
U.S. v. Abbell, 914 F. Supp. 519 (S.D. Fla.1995) (after seizing law firm documents through a search


                                                  13
         Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 14 of 37




warrant, the government employed a taint team to determine privilege; however, court appointed
a special master to review the documents, with costs charged to the government; cited in United
States v. Stewart, Case No. 02-CR-395-JGK, 2002 WL 1300059 (S.D.N.Y. June 11, 2002) (Koeltl,
J.); DeMassa v. Nunez, 747 F.2d 1283, 1285 (9th Cir. 1984) (relating procedure for execution of
search warrant involving special master at site of law offices during execution of warrant).

         Even with unequivocal Supreme Court precedent in Bartnicki, supra, precluding criminal
liability for Project Veritas or Mr. O’Keefe, the government has aggressively investigated them.
The attendant conclusion from Bartnicki, Russian Federation, and Beirich is that government is
free to investigate wrongdoers – actual thieves, for example – but must use an especially light hand
when dealing with journalists who accept material from sources. Because the First Amendment
firmly protects against criminal liability for news organizations such as Project Veritas who accept
material from third parties, care must be taken to protect its newsgathering rights here. Appointing
a special master will provide this protection.

        Additionally, the use of a special master is particularly appropriate given the nature of the
government’s apparent leaks during its investigation. As noted earlier the government leaked
details of its grand jury investigation to the press, including to competitors of Project Veritas.
Before or immediately after the agents departed from one of the homes searched on November 4,
2021, a New York Times writer contacted one of the persons on whom a warrant was executed,
requesting to speak. Given a leak occurred at or before the issuance of the search warrants, it is
naive to believe the free press should trust that the government will protect its privileged
information in this matter. Appointing a special master is an appropriate prophylactic method to
protect against leaks. Notably, during independent counsel Kenneth Starr’s investigation of Bill
Clinton, Judge Norma Holloway Johnson appointed a special master to examine and limit the flood
of leaks from that probe. See William Glaberson, Pssst, Says Prosecutor to Reporter; I’m All Ears,
Is the Reply, N.Y. TIMES, June 24, 1998, at A22. Appointing a special master now will reduce the
risk of future leaks and reduces attendant First Amendment injuries.

        In United States v. Stewart, 2002 WL 1300059, at *4, the government conceded that “that
the Court has the authority and discretion to decide whether to appoint a Special Master to conduct
an initial review of the seized materials for privilege and responsiveness or whether to allow the
government’s privilege team to conduct this review.” Id. at *4. Part of the government’s
concession in Stewart was based on the special master procedures found in the United States
Attorney’s Manual. Id. at *6. Just as Stewart was “exceptional,” so, too, is this case. Not only do
the seized materials contain attorney-client privileged communications, but also news gathering
materials that have nothing do to with the purpose of the search warrant.

        Consistent with a court’s supervisory authority, however, the Court may also appoint a
special master where, as here, there is no pending criminal case against the subjects of the search.
See In re the Matter of Search Warrants Executed on April 9, 2018, No. 18 MJ 3161 (S.D.N.Y.
Apr. 27, 2018) (Dkt. 30) (appointing a special master pursuant to Federal Rule of Civil Procedure
53(a)(1)(C) and the court’s “inherent equitable powers and authority”); Benjamin v. Fraser, 343
F.3d 35, 46 (2d Cir. 2003) (noting that section 3626(g)(8) “implicitly incorporates the long
recognized principle that Article III courts may appoint agents to engage in a variety of activities
essential to the performance of judicial responsibilities.” (citations omitted)).


                                                 14
         Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 15 of 37




        In addition to this Court’s inherent supervisory authority, this Court may draw upon Rule
53 of the Federal Rules of Civil Procedure for its authority to appoint a special master to aid the
Court in dealing with the government’s seizure of attorney-client privileged communications. U.S.
v. Black, No. 16-20032-JAR, 2016 WL 6967120 **3-4 (D. Kan. Nov. 29, 2016) (Robinson, J.). In
Black, the government obtained privileged audio and video recordings of communications between
inmates and their attorneys. Id. at *1. The government had also obtained digital images of the
information on prison law library computers, which contained more privileged materials. Id. at *5,
n.33. The court held an emergency hearing following the defendants’ motion for return of
information under Rule 41(g), Federal Rules of Criminal Procedure. The government may be held
responsible for costs of a special master. See id.; Trout v. Ball, 705 F.Supp. 705, 707 (D.D.C. 1989)
(appointing special master and assessing costs against government in 13-plus year, scorched-earth
defense against a meritorious class action against the Navy for sexual discrimination).

                                   5. Requested Relief

        Given the sensitive nature of the issues herein, the government should agree to a similar
approach here as it did in the Giuliani Case. Mr. O’Keefe and Project Veritas are perceived
antagonists of the President and his administration; a prominent journalist with a considerable,
devoted following. He and his sources benefit from the journalist privilege. On balance, to ensure
the perception of fairness and to avoid the unnecessary intrusion on the free press and journalist
privilege, it is necessary for this Court to appoint a special master. The special master can
expeditiously filter the warrant materials for potentially privileged documents, and the review can
be informed by Mr. O’Keefe and Project Veritas’s parallel review of the same materials – just as
in the Giuliani Case.

       Mr. O’Keefe and Project Veritas request that the Court adopt the procedures adopted by
Judge Wood for the appointment of a special master in In re the Matter of Search Warrants
Executed on April 9, 2018, Case No. 18 MJ 3161 (S.D.N.Y. Apr. 16, 2018), specifically:

      Direct the parties to confer and submit proposed candidates for a special master and, if they
       cannot reach agreement on a list of candidates, submit their own candidates.
      Appoint a special master from the list of candidates proposed by the parties or another
       suitable candidate identified by the Court.
      Require the special master to submit a declaration regarding any bases for potential
       disqualification.
      Issue an order identifying the duties, reporting and judicial review requirements, and other
       provisions relating to the appointment of a special master.
      Require the parties and special master to complete the review of the seized materials on an
       expedited schedule set forth by the Court.

    Mr. O’Keefe and Project Veritas also request that the Court order the government to
immediately seal the seized materials and affirm in writing that they have refrained from
reviewing, copying, accessing, or extracting the materials.



                                                 15
         Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 16 of 37




                                        6. Conclusion

       Accordingly, Mr. O’Keefe and Project Veritas request that this Court enter an Order
appointing a Special Master to review the contents of the cell phones the government seized from
Mr. O’Keefe’s home on November 6, 2021.

                                                    By:     /s/ Paul A. Calli
                                                          Paul A. Calli
                                                          Florida Bar No. 994121
                                                          Chas Short
                                                          Florida Bar No. 70633
                                                          CALLI LAW, LLC
                                                          14 NE 1st Ave, Suite 1100
                                                          Miami, FL 33132
                                                          Telephone: (786) 504-0911
                                                          Facsimile (786) 504-0912
                                                          PCalli@Calli-Law.com
                                                          CShort@Calli-Law.com

                                                          Pro Hac Vice Motion to Be Filed
                                                          Forthwith

                                                    By: s/ Harlan Protass
                                                        Harlan Protass
                                                        PROTASS LAW PLLC
                                                        260 Madison Avenue, 22nd Floor
                                                        New York, NY 10016
                                                        Telephone: 212-455-0335
                                                        hprotass@protasslaw.com

 /s/ Benjamin T. Barr                                     /s/ Stephen R. Klein
 Benjamin Barr                                            Stephen R. Klein
 BARR & KLEIN PLLC                                        Bar No. 177056
 444 N. Michigan Avenue Ste. 1200                         BARR & KLEIN PLLC
 Chicago, IL 60611                                        1629 K St. N.W., Ste. 300
 Telephone: (202) 595-4671                                Washington, DC 20006
 Ben@barrklein.com                                        Telephone: (202) 804-6676
                                                          steve@barrklein.com



Pro Hac Vice Motion to Be Filed Forthwith




                                               16
Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 17 of 37




               EXHIBIT A
         Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 18 of 37



                                                                                      CALLI LAW, LLC
                                                                          One Flagler Building, Suite 1100
                                                                                  14 Northeast 1st Avenue
                                                                                    Miami, Florida 33132
                                                                                          T. 786.504.0911
                                                                                          F. 786.504.0912
                                                                                       www.calli-law.com



                                      November 6, 2021

 Mitzi Steiner                                        Via PDF email: Mitzi.Steiner@usdoj.gov
 Assistant United States Attorney
 Southern District of New York
 One St. Andrew’s Plaza
 New York, New York 10007

 Robert Sobelman                                                              Via PDF email:
 Assistant United States Attorney                                 Robert.Sobelman@usdoj.gov
 Southern District of New York
 One St. Andrew’s Plaza
 New York, New York 10007

 Jacqueline Kelly                                                              Via PDF email:
 Assistant United States Attorney                                  Jacqueline.Kelly@usdoj.gov
 Southern District of New York
 One St. Andrew’s Plaza
 New York, New York 10007


       Re:     Seizure of James O’Keefe’s Cell Phone


Dear Ms. Steiner, Mr. Sobelman and Ms. Kelly:
       I am writing on behalf of Project Veritas, and James O’Keefe, both of whom I represent.
        By this letter, I request that the government sequester and not access Mr. O’Keefe’s cell
phone, which it seized this morning. Mr. O’Keefe’s cell phone contains attorney-client privileged
communications and attorney work product related to this investigation. It also contains attorney-
client privileged materials and attorney work product for numerous matters unrelated to the
government’s inquiry. For example, it contains privileged materials related to Project Veritas’s
defamation suit against the New York Times. The cell phone contains other materials that are
protected by the attorney-client and work product privileges belonging or relating to Mr. O’Keefe
individually, Project Veritas, and/or the Project Veritas Action Fund.
       In addition to the above-described privileged materials, Mr. O’Keefe’s cell phone contains
other material protected by the First Amendment that the government must not access, including
donor information for Project Veritas and Project Veritas Action Fund, information related to on-
            Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 19 of 37




going news investigations unrelated to the government’s inquiry, and whistleblower information.
The privileged and First Amendment information (hereinafter “Protected Information”) may not
lawfully be accessed by your office, the FBI, or any so-called “taint team” that the government has
assembled, or may plan to assemble, for the purpose of reviewing the seized electronic devices.
       The government’s seizure of Mr. O’Keefe’s cell phone violates The Privacy Protection Act
(“PPA”), 42 U.S.C. 2000aa. The PPA generally prohibits the search and seizure of “work product
materials” possessed by a person or entity in connection with “a purpose to disseminate to the
public a newspaper, book, broadcast, or other similar form of public communication.” 42 U.S.C.
2000aa(a). There is no exception applicable on the present facts.
        Likewise, the PPA’s prohibition on the search and seizure of non-work product materials
is applicable. The general rule for non-work product materials under the PPA is that “documentary
materials, other than work product materials, possessed by a person in connection with a purpose
to disseminate to the public a newspaper, book, broadcast, or other similar form of public
communication, in our affecting interstate commerce” are prohibited from search and seizure in
connection with a criminal investigation. 42 U.S.C. 2000aa(b). There is no exception applicable
on the present facts.
        The seizure also violated 28 C.F.R. 50.10 and the Justice Manual’s guidance on that
regulation. 28 C.F.R. 50.10 states that the government’s use of subpoenas and search warrants “to
seek information from, or records of, non-consenting members of the news media [are]
extraordinary measures, not standard investigative practices.” 28 C.F.R. 50.10(a)(3). The
government must obtain high level approvals before seeking a search warrant on a member of the
news media like Mr. O’Keefe, and the member of the news media should be given “reasonable
and timely notice” of the high level determination. 28 C.F.R. 50.10(e)(2)(i). The exceptions are
not applicable. Moreover, you are aware I was willing to accept service of a grand jury subpoena
on behalf of Mr. O’Keefe (as I did for Project Veritas) and rather than pursue less First Amendment
intrusive means, the government chose to execute a search warrant. This contravenes the policy
preferences articulated in both 28 C.F.R. 50.10(a)(3) and the corresponding guidance in Justice
Manual 9-13.400.
       I also request that the government sequester and not access devices seized from Spencer
Meade and Eric Cochran earlier this week. Both individuals are former employees of Project
Veritas, and the devices seized from them may contain some of the same attorney-client, work
product and First Amendment information described above that is the protected property of Project
Veritas.
       So that we may take appropriate action, please provide forthwith:
      1.     A copy of the warrants by which electronic devices were seized from Mr. O’Keefe,
Mr. Meade and Mr. Cochran;
       2.       A copy of the search warrant affidavits for the foregoing; and
      3.     A description of the government’s efforts to comply with the requirement of 28
CFR 50.10 and J.M. 9-13.400, including but not limited to:
         Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 20 of 37




              a.      Whether the government obtained approval from senior DOJ officials prior
       to applying for the search warrants,
               b.     If not, why it did not,
            c.        Whether this matter was submitted to DOJ’s News Media Review
       Committee,
               d.     And if not, why not.
        It is imperative that you acknowledge this request immediately and provide written
assurances that the government will sequester and not access the seized electronic devices. Should
you decline this request, or fail to respond within twenty-four (24) hours, we will seek immediate
judicial intervention.


                                                            Sincerely,


                                                            Paul A. Calli
                                                            Chas Short
Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 21 of 37




               EXHIBIT B
         Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 22 of 37
                                         U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                     November 7, 2021

BY EMAIL

Paul A. Calli, Esq.
Calli Law, LLC
One Flagler Building, Suite 1100
14 Northeast 1st Avenue
Miami, Florida 33132
pcalli@calli-law.com

       Re:     In the Matter of the Search of the Premises Known and Described as
               151 Fenimore Road, Apartment 62A, Mamaroneck, New York (21 Mag. 10685)

Dear Mr. Calli:

       The Government writes in response to your letter dated November 6, 2021, sent on behalf
of your clients James E. O’Keefe, III, and Project Veritas, concerning a search warrant executed
on that same date at the residence of Mr. O’Keefe. The Government provides the following
responses as a courtesy, as it is under no obligation to do so.

         First, you request that the Government provide you with a copy of the warrant executed at
Mr. O’Keefe’s residence. The Government understands that a copy was provided to Mr. O’Keefe
at the time of the search. Nevertheless, as a courtesy, please find another copy attached hereto.
The Government declines, however, to provide you with a copy of the affidavit submitted to the
Court in support of its application for the warrant. Your clients are “not entitled to a preview of
the Government’s evidence in an ongoing investigation before [they have] been charged with a
crime.” In re Search Warrants Executed on Apr. 28, 2021, No. 21 Misc. 425 (JPO), 2021 WL
2188150, at *3 (S.D.N.Y. May 28, 2021) (denying motion to unseal affidavits submitted in support
of warrants because there is “no authority” “for the proposition that the Fourth Amendment (or
any other constitutional or statutory provision) gives a person who has not been charged a right to
review a search warrant affidavit during an ongoing investigation”).

        Second, with regard to potentially privileged materials on the devices seized from
Mr. O’Keefe, the warrant contains a provision, with which the Government will comply, that will
safeguard any potentially privileged materials, including through the use of a filter process as
necessary. As you may know, “[t]he use of a filter team is a common procedure in this District
and has been deemed adequate in numerous cases to protect attorney-client communications.” In
re Search Warrants Executed on April 28, 2021, 2021 WL 2188150, at *2 (citing United States v.
Blakstad, No. 19 Cr. 486 (ER), 2020 WL 5992347, at *8 (S.D.N.Y. Oct. 9, 2020), and United
States v. Ceglia, No. 12 Cr. 876 (VSB), 2015 WL 1499194, at *1 (S.D.N.Y. Mar. 30, 2015)); see
         Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 23 of 37

                                                                                           Page 2


also United States v. Avenatti, No. 19 Cr. 374 (JMF), 2021 WL 4120539, at *4-5 (S.D.N.Y. Sept. 9,
2021) (approving of filter team procedure based on identical provision in search warrant issued for
an attorney’s electronic devices); United States v. Winters, No. 06 Cr. 54 (SWK), 2006 WL
2789864, at *2 (S.D.N.Y. Sept. 27, 2006) (proposed use of “‘wall Assistant’ adequately protects
the defendant’s asserted privilege”). In undertaking the filter process, the Government would
welcome any information your clients wish to provide that may assist the filter team, such as a list
of attorneys who have represented your clients.

       Similarly, without agreeing that any other privilege or the Privacy Protection Act is
applicable to the contents of Mr. O’Keefe’s devices, the Government would welcome any
information your clients wish to provide that would assist the filter team in identifying the
applicable privilege or protection and the materials to which it might theoretically apply.

        Third, as to your assertions regarding the Government’s compliance with various federal
regulations and Justice Manual provisions, the Government hereby confirms that it has complied
with all applicable regulations and policies regarding potential members of the news media in the
course of this investigation, including with respect to the search warrant at issue.

        Finally, you make multiple requests concerning devices, which you state belonged to
individuals whom you do not represent, that the Government may have recovered in the course of
executing other search warrants at locations that are unrelated to your clients. The Government
respectfully declines to engage in correspondence with you or your clients about any such matters.

       We are available to confer further regarding any of the foregoing.

                                                Respectfully submitted,

                                                DAMIAN WILLIAMS
                                                United States Attorney


                                          By:
                                                Jacqueline Kelly
                                                Mitzi Steiner
                                                Robert B. Sobelman
                                                Assistant United States Attorneys
                                                (212) 637-2456/2284/2616

Attachment
Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 24 of 37




               EXHIBIT C
                 Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 25 of 37


Chandra Bussone

From:                           Paul Calli
Sent:                           Monday, November 8, 2021 6:52 PM
To:                             Sobelman, Robert (USANYS)
Cc:                             Chandra Bussone; Steiner, Mitzi (USANYS); Kelly, Jacqueline (USANYS) 2; Charles Short;
                                Harlan Protass
Subject:                        Re: James O'Keefe



Rob,

I have included Harlan Protass, additional counsel to James O’Keefe and Project Veritas, on this email.

As detailed in my November 6, 2021 letter you, I reiterate my request that the government sequester and not
access Mr. O’Keefe’s cell phone which contains, among other things, attorney client privileged information,
material protected by the First Amendment, and confidential donor information .

You emailed me at 6:11 pm on 11/8/21 and informed that the government will begin its extraction of privileged,
legally protected, and confidential information as early as the morning of 11/9/21.

This is to notify you that Mr. O’Keefe and Project Veritas will be seeking judicial intervention by or before 6
pm tomorrow, 11/9/21. The government should not access the seized devices until the issue is resolved by the
Court.


I request a meet and confer call tomorrow afternoon.

The Department of Justice’s use of a search warrant to seize a reporter’s notes and work product violates
decades of established Supreme Court precedent.


You are aware that we are filing a motion requesting the appointment of a special master to oversee the entire
process of the extraction of data and appropriate review of that data from Mr. O’Keefe’s cell phone. Under
those circumstances, why is the Department of Justice rushing to extract the data and refusing to even allow one
day for judicial review?


Sincerely,


Paul Calli

Paul A. Calli, Esq.
Calli Law, LLC
One Flagler Building
14 Northeast 1st Avenue, Suite 1100
Miami, FL 33132
786-504-0911 O
786-504-0912 F
                                                         1
                Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 26 of 37

305-401-8994 C
PCalli@Calli-law.com
www.calli-law.com

Sent from my iPhone


      On Nov 8, 2021, at 6:11 PM, Sobelman, Robert (USANYS) <Robert.Sobelman@usdoj.gov>
      wrote:


      Paul,

      In light of your request for us to “sequester” your client’s devices, please be advised that we anticipate
      the forensic extraction of data from those devices to begin as early as tomorrow morning.

      Thanks,

      Rob

      On Nov 7, 2021, at 2:16 PM, Sobelman, Robert (USANYS) <RSobelman@usa.doj.gov> wrote:




                                                           2
Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 27 of 37




               EXHIBIT D
Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 28 of 37
Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 29 of 37




               EXHIBIT E
         Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 30 of 37




                                                    U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York


                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew=s Plaza
                                                    New York, New York 10007


                                                    November 4, 2021

Project Veritas
c/o Paul A. Calli, Esq.
Calli Law, LLC
One Flagler Building, Suite 1100
14 Northeast 1st Avenue
Miami, Florida 33132
pcalli@calli-law.com

       Re:     Grand Jury Subpoena

Dear Mr. Calli,

        Please be advised that the accompanying grand jury subpoena has been issued in
connection with an official criminal investigation of a suspected felony being conducted by a
federal grand jury. The Government hereby requests that you voluntarily refrain from disclosing
the existence of the subpoena to any third party. While you are under no obligation to comply
with our request, we are requesting you not to make any disclosure in order to preserve the
confidentiality of the investigation and because disclosure of the existence of this investigation
might interfere with and impede the investigation.

       Thank you for your cooperation in this matter.

                                                    Very truly yours,

                                                    DAMIAN WILLIAMS
                                                    United States Attorney

                                             By:    ___________________________
                                                    Mitzi Steiner
                                                    Assistant United States Attorney
                                                    (212) 637-2284
Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 31 of 37




               EXHIBIT F
Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 32 of 37
Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 33 of 37
Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 34 of 37
Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 35 of 37
             Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 36 of 37




to Ashley Biden, President Biden, and Ashley Biden’s associates regarding her stolen property and
communications among co-conspirators discussing what to do with her property.

       g.      Evidence reflecting the location of other evidence with respect to the Subject
Offenses, such as communications reflecting registration of online accounts potentially containing
relevant evidence of the scheme.

    C. Unlocking Devices with Biometric Features

       During the execution of the warrant, law enforcement personnel are authorized to obtain
from James E. O’Keefe, III the display of any physical biometric characteristics (such as
fingerprint/thumbprint or facial characteristics) necessary to unlock any electronic device(s),
including to (1) press or swipe the fingers (including thumbs) of O’Keefe to the fingerprint scanner
of the device(s); (2) hold the device(s) in front of the face of O’Keefe to activate the facial
recognition feature; and/or (3) hold the device(s) in front of the face of O’Keefe to activate the iris
recognition feature, for the purpose of attempting to unlock the device in order to search the
contents as authorized by this warrant.

    D. Review of ESI

        Following seizure of any device(s) and/or the creation of forensic image copies, law
enforcement personnel (who may include, in addition to law enforcement officers and agents,
attorneys for the government, attorney support staff, agency personnel assisting the government in
this investigation, and outside technical experts under government control) are authorized to
review the ESI contained therein that was sent, received, posted, created, or otherwise accessed,
established, modified, or deleted between the time period August 1, 2020 and the present for
information responsive to the warrant.

       In conducting this review, law enforcement personnel may use various techniques to locate
information responsive to the warrant, including, for example:

        •     surveying various file “directories” and the individual files they contain (analogous to
              looking at the outside of a file cabinet for the markings it contains and opening a drawer
              believed to contain pertinent files);

        •     opening or cursorily reading the first few “pages” of such files in order to determine
              their precise contents;

        •     scanning storage areas to discover and possibly recover recently deleted files or
              deliberately hidden files;

        •     performing key word searches through all electronic storage areas to determine whether
              occurrences of language contained in such storage areas exist that are intimately related
              to the subject matter of the investigation; and



                                                    3
2019.11.19
             Case 1:21-mc-00813-AT Document 1 Filed 11/12/21 Page 37 of 37




        •     reviewing metadata, system information, configuration files, registry data, and any
              other information reflecting how, when, and by whom the computer was used.

        Law enforcement personnel will make reasonable efforts to search only for files,
documents, or other electronically stored information within the categories identified above in this
Attachment. However, law enforcement personnel are authorized to conduct a complete review
of all the ESI from seized devices or storage media if necessary to evaluate its contents and to
locate all data responsive to the warrant.

                                              * * *

        Review of the items described in this Attachment shall be conducted pursuant to
established procedures designed to collect evidence in a manner reasonably designed to protect
any attorney-client or other applicable privilege (to the extent not waived). When appropriate, the
procedures shall include use of a designated “filter team,” separate and apart from the investigative
team, in order to address potential privileges.




                                                 4
2019.11.19
